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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNIVERSITY OF SAINT THOMAS,              §        CIVIL ACTION NO. _______
                                         §
                                         §
                                         §
      Plaintiff,
                                         §
                                         §
                                         §
v.                                       §
                                         §
                                         §
                                         §
AMERICAN HOME ASSURANCE                  §           JURY TRIAL DEMANDED
COMPANY,                                 §
                                         §
                                         §
      Defendant.                         §

                     PLAINTIFF’S ORIGINAL COMPLAINT

      Plaintiff University of Saint Thomas (“UST”) files this Original Complaint

against American Home Assurance Company (“American Home” or “Defendant”),

which has denied UST’s first-party claim for lost business income and expenses

caused by COVID-19 in violation of the clear terms of the applicable policy.

                                    PARTIES

      1.     Plaintiff University of Saint Thomas is a domestic non-profit

corporation located in Harris County, Texas.

      2.     Defendant American Home Assurance Company is an American
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International Group (“AIG”) subsidiary insurance company organized under New

York law, doing business in Texas, with its principal place of business in New York,

New York. It may be served with process in this action by serving its registered

agent, Corporation Service Company, 211 East 7th Street, Suite 620, Austin, Texas

78701.

                            JURISDICTION AND VENUE

       3.     The Court has jurisdiction over the subject matter of this action under

28 U.S.C. § 1332 because Plaintiff and Defendant are citizens of different states, and

the amount in controversy exceeds $75,000, excluding interest and costs. Personal

jurisdiction is satisfied because American Home entered into the insurance policy at

issue with UST in the State of Texas, and American Home has sufficient minimum

contacts with the State of Texas such that the assumption of jurisdiction will not

offend traditional notions of fair play and substantial justice.

       4.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2), because a

substantial part of the events or omissions giving rise to the claim occurred in this

district and because a substantial part of the property that is the subject of this action

is situated in this district.




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                          STATEMENT OF FACTS

      5.    UST is Houston’s Catholic University, committed to the religious,

ethical and intellectual traditions of Catholic higher education. For over seventy

years, it has graduated students into successful careers in medicine, education,

business, public administration, and more. Its campus, made up of administrative

buildings, lecture halls, and student housing facilities, is located in Houston’s

Museum District and Innovation Corridor.

      6.    UST’s primary source of income is tuition, which students pay each

fall, spring, and summer semester. UST also derives income from room and board

through the year-round operation of its student residences and dining halls. In

addition, UST hosts summer camps and other paid programming. All of UST’s

operations, services, and production have been affected by COVID-19.

      7.    American Home is a direct, wholly-owned subsidiary of AIG Property

Casualty U.S., Inc.

                                   The Policy

      8.    On or about February 1, 2020, UST and American Home entered into

an insurance contract. See Commercial Property Policy No. 061818876 (“Policy,”

attached as Exhibit 1). UST agreed to pay premiums to American Home in

exchange for American Home’s promise to indemnify UST for “all risks of direct

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physical loss or damage” to real and personal property UST owns, operates, or

controls.

         9.    The Policy covers loss or damage from, among other things, business

interruption, relocation expenses, attraction property, interruption by civil authority,

limitations of ingress and egress, and extra expense.

         10.   Specifically, American Home agreed as follows:

               We will pay the actual business income loss sustained by you due
               to the necessary partial or total interruption of your business
               operations, services or production during the period of indemnity
               as a result of direct physical loss or damage to: (1) covered
               property by a covered cause of loss or (2) property of the type
               insured under this Policy by a covered cause of loss which
               directly affects your use of the covered property, provided that
               you are a lessee or occupant of the premises where the direct
               physical loss or damage occurred.

Policy § VI.A.

         11.   All risks are covered unless expressly excluded. The Policy does not

exclude from coverage direct physical loss or damage to covered property caused by

virus.

     12.       The Policy does not define “direct physical loss or damage”; however,

the use of the disjunctive “or” in the phrase means that coverage is triggered if either

a loss or damage occurs. These concepts are separate and distinct under the language

of the Policy.

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     13.     Under the Policy, physical loss of, or damage to, property may be

reasonably interpreted to occur under a variety of circumstances, including but not

limited to when a covered cause of loss threatens or renders property unusable or

unsuitable for its intended purpose or unsafe for normal human occupancy or use.

     14.     UST paid all Policy premiums to American Home, which accepted all

such premiums, and the Policy has been and remains in full force and effect for the

period from February 01, 2020 to February 01, 2021.

                                    The Peril

     15.     After the inception of the Policy, a new coronavirus that causes a

respiratory disease known as COVID-19 emerged in Houston. By the beginning of

March 2020, thousands of Americans were infected. On March 11, the World Health

Organization (“WHO”) declared the COVID-19 outbreak a pandemic; and on March

13, Texas Governor Greg Abbott declared a state of disaster in Texas. In accord

with these declarations, on March 19, John W. Hellerstedt, M.D., Commissioner of

the Department of State Health Services declared a public health disaster in Texas

because COVID‑19 “has created an immediate threat, poses a high risk of death to

a large number of people, and creates a substantial risk of public exposure because

of the disease’s method of transmission and evidence that there is community spread

in Texas.”

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      16.     The COVID-19 pandemic is exacerbated by the fact that it may infect

a person in a variety of ways. The deadly virus spreads when an infected person

emits viral particles into the air when they sneeze, cough, talk or breathe and another

person ingests them.1 A study published in the New England Journal of Medicine,

explains the virus can float or drift in the air for up to three hours. 2 The risk of

infection from exposure to airborne viral particles is greatest in indoor spaces. 3

      17.     The virus also physically infects and stays on surfaces and everyday

objects such as counters, tabletops, windows, doorknobs, bathroom fixtures, phones,

etc. for days on end.4 A study published in the Journal of Hospital Infection found

that the virus can remain infectious on inanimate surfaces at room temperature for

up to nine days.5

      18.     On March 19, 2020, Governor Abbott of the State of Texas issued an

executive order that “every person in Texas shall avoid gathering in groups of more

than 10 people,” and advising that people should avoid eating in restaurants as well

as visiting gyms.



       1
         https://www.health.harvard.edu/diseases-and-conditions/covid-19-basics
       2
          See https://www.nejm.org/doi/full/10.1056/NEJMc2004973 (all websites cited herein
were last accessed August 7, 2020)
       3
         See https://www.medrxiv.org/content/10.1101/2020.02.28.20029272v2
       4
         https://www.nejm.org/doi/full/10.1056/NEJMc2004973
       5
         https://www.journalofhospitalinfection.com/article/S0195-6701(20)30046-3/fulltext

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     19.      On March 24, 2020, recognizing that “the COVID-19 virus causes

property loss or damage due to its ability to attach to surfaces for prolonged periods

of time,” Harris County Judge Lena Hidalgo issued an order directing all individuals

living in the county to stay at home except to provide or receive certain essential

services or engage in certain essential activities. That order further required all non-

essential businesses located within Harris County to cease all activities at facilities

located within Harris County. The order remained in effect until April 30; and on

May 1, a new, but substantially similar version of the order was extended to June 10.

As a university, UST was not designated an essential business for in-person

operations and was therefore required to transition exclusively to virtual instruction.

     20.      Because COVID-19 has persisted and continued to spread in the

community, Governor Abbott of the State of Texas has issued numerous orders

designed to combat the spread and threat of the virus:

           • On March 31, Gov. Abbott issued an executive order implementing
             essential services and activities protocols for the entire state of Texas,
             stating “[e]very person in Texas shall, except where necessary to
             provide or obtain essential services, minimize social gatherings and
             minimize in-person contact with people who are not of the same
             household.” The order also ordered schools to remain closed to in-
             person classroom attendance through May 4, 2020.

           • On June 23, Gov. Abbott issued an updated executive order to expand
             the ability of mayors and county judges to impose restrictions on certain
             outdoor gatherings of over 100 people.

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           • On June 26, Gov. Abbott issued an executive order re-imposing
             restrictions on bars and restaurants, which had been relaxed. The order
             restricted bars to delivery and takeout service only. It also mandated
             restaurants cut back on dine-in service, operating at only 50% capacity.
             Previously, restaurants had been able to fill dining rooms at 75% of
             normal occupancy. The Governor’s office stated publicly that these
             measures were “essential to our mission to swiftly contain this virus
             and enhance public health.”

           • On July 2, Gov. Abbott issued an executive order, requiring all Texans
             to wear a face covering over the nose and mouth in public spaces in
             counties with 20 or more positive COVID-19 cases, with few
             exceptions.

           • On July 2, Gov. Abbott issued an updated executive order to expand
             the ability of mayors and county judges to impose restrictions on certain
             outdoor gatherings of over 10 people.

           • On July 9, Gov. Abbott issued a proclamation re-suspending elective
             surgeries and procedures in hospitals in all counties located within 11
             Trauma Service Areas (TSAs) in Texas, including Harris County.

     21.      Under Section 418.173 of the Texas Government Code, failure to

comply with any executive order issued during the COVID-19 pandemic is an

offense punishable by a fine not to exceed $1,000, confinement in jail for a term not

to exceed 180 days, or both fine and confinement.

     22.      Likewise, on June 26, 2020 Harris County Judge Lina Hidalgo raised

the Current Level of Risk for Harris County from Level 2 to Level 1. Level 1

signifies a severe and uncontrolled level of COVID-19 in Harris County. At this

level, residents are advised to take action to minimize contacts with others wherever

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possible and avoid leaving home except for the most essential needs like going to

the grocery store for food and medicine. At the time of filing, Harris County remains

at Level 1.

     23.      On July 24, 2020, recognizing the “higher risk for spread of COVID-

19 in schools, and the challenge of keeping students, teachers, administrators, and

school personnel safe from COVID-19,” Judge Hidalgo further ordered all public

and non-religious private schools in Harris County not to open for face-to-face

instruction until after September 7, 2020. While the order cannot require private

schools to delay in-person instruction, it “strongly urge[s]” them to do the same. The

order cautions that the reopening of schools in Harris County may be further delayed,

depending on the severity of the outbreak at the time.

     24.      The closure of all non-essential businesses and restrictions on

gatherings of people and in-person instruction evidence an awareness by state and

local governments that COVID-19 causes loss of or damage to property, especially

for businesses that are open to the large numbers of the public, like a university, as

the contact and interaction incident to such businesses causes an increased

likelihood—almost certainty—that COVID-19 is physically present on the property.

     25.      As of the date of this filing, there have been over 87,000 confirmed

cases of COVID-19 infection in Harris County.

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                         Direct Physical Loss and Damage

     26.     The COVID-19 pandemic and physical presence of the virus on UST’s

campus have caused direct physical loss and damage to covered properties. UST

has and will continue to sustain direct physical loss and damage covered by the

Policy, including but not limited to, business interruption, extra expense, interruption

by civil authority, limitations on ingress and egress, and expenses to reduce loss.

     27.     Several individuals with confirmed cases of coronavirus—and untold

numbers of unconfirmed cases—were physically present in covered properties on

UST’s campus starting in mid and late March and continuing thereafter.

     28.     As a result of the physical presence of the virus on campus and rapid

community spread, as well as the state and local orders, UST was forced to close its

classrooms and rush to implement remote instruction for its students, at considerable

expense to UST, including the purchase of software licenses and other technologies.

It was also forced to establish quarantine housing for students who either had or may

have been exposed to coronavirus, and later to close all dining and residence halls

and refund students’ room, board, student, and parking fees. It has also had to cancel

UST’s annual summer camp programs, resulting in the loss of deposits, housing fees,

and facility-rental income.

     29.     UST remains closed today. Since mid-March, only certain janitorial,

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facilities, and administrative staff whose physical presence has been periodically

required in order to maintain UST’s essential operations have been physically

present on campus. Even among that limited population, confirmed cases of

COVID-19 on campus have steadily increased.

      30.     The damage caused by the virus is continuing and ongoing, and its

impact on Fall 2020 operations is as yet unknown. The continued presence of the

virus is likely to require UST to keep its classrooms, dormitories, and dining halls

closed or at reduced capacity. According to the Chronicle of Higher Education,

which is tracking over 1,000 colleges since April 2020, only 65% of colleges are

contemplating some form of in-person classes this fall,6 and many colleges have

already announced they will be provided on-line education only. 7

      31.     A recent survey of public four-year colleges has shown that the virus is

spreading on college campuses even before in-person instruction has commenced,

including at neighboring Rice University in Houston.8 And a simulation created by

professors at Swarthmore College showed that, given the closely connected

environment of most universities, if in-person classes resume without extensive


       6
            https://www.cnbc.com/2020/06/23/65percent-of-colleges-are-preparing-for-in-person-
classes-this-fall.html
        7
            https://www.insidehighered.com/news/2020/07/07/coronavirus-roundup-more-
universities-announce-plans-largely-online-fall-terms
        8
          https://www.nytimes.com/interactive/2020/07/28/us/covid-19-colleges-
universities.html?smid=em-share
                                                 -11-
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efforts to mitigate the spread, thousands of people could become infected on modest-

sized college campuses within a thirty day period.9

      32.     UST expects to incur significant business income losses in the form of

lost room-and-board revenues and tuition, and considerable extra expense associated

with the purchase of additional technology needed to facilitate expanded online

instruction and the purchase of cleaning supplies and personal protective equipment

for janitorial staff.

      33.     Because the physical presence of the virus on campus will undoubtedly

affect its ability to provide the same in-person instruction that students expect, UST

has already extended a $500 tuition grant to each undergraduate student who is

enrolled for the fall semester and made other pricing reductions to avoid enrollment

losses.

                  American Home Wrongfully Denies UST’s Claim

      34.     UST timely submitted a claim for business income losses on March 16,

2020. On May 14, 2020, American Home denied the claim, citing the “pollutants or

contaminants” provision of the “Perils Excluded” section of the policy as its reason

for denying “coverage for Business Income, Direct Physical Damage, and Civil



       9
        https://arxiv.org/pdf/2006.03175.pdf; https://www.marketwatch.com/story/how-covid-
19-could-spread-on-college-campuses-will-students-be-safe-2020-06-29

                                             -12-
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Authority.” AIG Letter, dated 5/14/2020 (attached as Exhibit 2). American Home

appears to interpret the reference to “virus” in the definition of “pollutants or

contaminants” as an express exclusion of virus as a covered cause of loss:

              Although there is coverage for Business Income, Direct Physical
              Damage, and Civil Authority under your policy, there must be a
              Covered Cause of Loss in which the Business Income, Direct
              Physical Damage and Civil Authority results. In this instance,
              the cause of loss is COVID-19. COVID-19 is a virus which, per
              the policy, is considered a contaminant or pollutant and is
              specifically excluded by the policy. As such, coverage for
              Business Income, Direct Physical Damage and Civil Authority
              are not triggered as the peril is specifically excluded.

Exhibit 2 at 5-6.

      35.     Although American Home has taken the position that UST’s losses

arising out of COVID-19 are not covered by the Policy, its owner, AIG, has publicly

admitted to investors and regulatory bodies that COVID-19 losses require coverage.

In May 2020—the same month American Home denied UST’s claim—Brian

Duperreault, Chief Executive Officer of AIG, stated “[w]e believe that COVID-19

will be the single largest CAT (catastrophe) loss the industry has ever seen.”10

Accordingly, in the first quarter of 2020, AIG has already set aside $272 million

dollars to cover COVID-19 related losses.11                These public admissions belie


       10
         https://www.insurancejournal.com/news/national/2020/05/05/567462.htm
       11
         https://www.reuters.com/article/us-aig-results/aig-quarterly-profit-nosedives-as-covid-
19-claims-loom-idUSKBN22G2Q3

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American Home’s denial of UST’s claim.

                      COVID-19 is a Covered Cause of Loss

     36.     Under an “all-risk” policy, like the one at issue here, if a peril is not

specifically excluded, it is a covered cause of loss. Dow Chem. Co. v. Royal Indem.

Co., 635 F.2d 379, 386 (5th Cir. 1981); SMI Realty Mgmt. Corp. v. Underwriters at

Lloyd’s London, 179 S.W.3d 619, 627 n.3 (Tex. App.—Houston [1st Dist.] 2005,

pet. denied). As a result of COVID-19, UST has suffered and will continue to suffer

business income loss sustained by the necessary partial or total interruption of its

business operations, services or production as a result of direct physical loss or

damage to (i) covered property caused by a covered loss, and (ii) property of the type

insured under this Policy by a covered cause of loss which directly affects its use of

the covered property, as a lessee or occupant of the premises where the direct

physical loss or damage occurred. See Policy § VI.A.

     37.     American Home specifically excluded many perils from UST’s

coverage, but not viruses. Under “Section V—Perils Excluded,” the Policy states

“we do not insure loss or damage caused directly or indirectly by any of the

following.” Id. § V.1. The Policy then specifically lists fourteen named perils,

including nuclear reaction or radiation; war, hostile or warlike action; and fungus,

mold or spore, to name a few. Id. §§ V.1.a, b, l. Pandemics, viruses, or diseases are

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not listed among them.

      38.    Had American Home intended to specifically exclude losses caused by

virus from the scope of coverage, it knew precisely how to do so. In 2006, the

Insurance Services Office (“ISO”) and the American Association of Insurance

Services (“AAIS”), represented hundreds of insurers in a national effort to seek

approval from state regulators for the adoption of virus exclusions to insurance

policies that provided coverage for business interruption caused by property damage.

Specifically, ISO circulated “New Endorsements Filed to Address Exclusion of Loss

Due to Virus or Bacteria” in response to the SARS virus. 12 The ISO Circular

explains that “[d]isease causing agents may . . . enable the spread of disease by their

presence on internal building surfaces or the surfaces of personal property,” and thus

may not have been excluded by the then-current exclusion for pollutants or

contaminants—which uses language virtually identical to that contained in the

American Home Policy at issue here.13 The ISO created a form containing the

following language to specifically exclude viruses from the scope of coverage: “We

will not pay for loss or damage caused by or resulting from any virus, bacterium or

other microorganism that induces or is capable of inducing physical distress, illness



      12
         https://www.propertyinsurancecoveragelaw.com/files/2020/03/ISO-Circular-LI-CF-
2006-175-Virus.pdf
      13
         See id.
                                             -15-
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or disease.” Upon information and belief, American Home knew of and had access

to the ISO’s virus exclusion endorsement and has included such exclusion in its

policies with other insureds.

     39.     By promulgating the virus exclusion in 2006, insurers acknowledged

that the typical pollution and contamination exclusion—like the one at issue here—

did not apply to damage and losses caused by a virus. It also recognizes that virus

can cause physical damage or loss to property; hence, the need for an exclusion. The

existence of the standard exclusion is an admission by the insurance industry that

policies without them do, in fact, cover virus-related damage and losses. The Policy

does not contain the standard virus exclusion, thus virus is a covered cause of loss.

     40.     Indeed, in its letter denying coverage, American Home recognized that

COVID-19 did, in fact, cause direct physical damage or loss to UST’s property by

failing to raise such argument as a basis to deny coverage. American Home is

therefore estopped from changing its position. Instead, American Home relied

exclusively on the pollution and contamination exclusion to deny coverage under

the Policy. That exclusion, however, is inapposite.

           The Pollution and Contamination Exclusion Does Not Apply

     41.     American Home’s reliance on the “pollutants or contaminants”

exclusion and accompanying definitions to deny coverage is not supported by the

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plain language of the Policy. “Pollutants or contaminants” is defined by the Policy

as “any solid, liquid, gaseous or thermal irritant or contaminant, including smoke,

vapor, soot, fumes, acids, alkalis, chemicals and waste, which after its release can

cause or threaten damage to human health or human welfare or causes or threatens

damage, deterioration, loss of value, marketability or loss of use to property insured

hereunder, including, but not limited to bacteria, virus, or hazardous substances.”

Id. § IX.35. This definition clearly does not include a virus, which is not a “solid,

liquid, gaseous or thermal irritant or contaminant.” A virus is, instead, an inert

protein, smaller than any bacteria, that attaches to human cells.

     42.     The narrow application of the exclusion is confirmed by the examples

provided. “[S]moke, vapor, soot, fumes, acids, alkalis, chemicals, and waste” are

examples of the types of substances that could constitute a “pollutant[] or

contaminant[].” Even the examples do not list viruses as pollutants or contaminants.

If any of those substances, after their release, “can cause or threaten damage to

human health” or property, they are a pollutant or contaminant within the meaning

of the policy. The provision lists bacteria, virus, or other hazardous substances as

examples only of the types of damage to human health or property. They are not

independent examples of “pollutants or contaminants,” as American Home suggests

in its letter denying UST’s claim. A virus is not itself a pollutant or contaminant,

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but merely an example of something that can cause damage to human health or

property. Virus is therefore separate and distinct from a pollutant or contaminant.

By the Policy’s express language, virus is not a “pollutant or contaminant.”

     43.     While the wording of the definition of “pollutant or contaminant” and

of the exclusion itself yields only one reasonable interpretation, as set out above, in

the alternative, if there is more than one reasonable construction of the pollutants

and contaminants exclusion, the exclusion is ambiguous and must be construed in

UST’s favor:

             Texas follows the well-settled rule that insurance policies will be
             interpreted liberally in favor of the insured and ambiguities
             strictly against the insurer, especially when dealing with
             exceptions and words of limitation. Furthermore, when the
             language of the insurance policy is susceptible of more than one
             reasonable construction, courts should apply that construction
             which favors the insured and permit recovery.

Dow Chem. Co., 635 F.2d at 386 (internal citations omitted).

                    The Policy Expressly States that Virus Causes
                     Direct Physical Harm or Damage to Property

     44.     The language of the Policy itself supports that virus is a covered cause

of loss. As explained above, “virus” is specifically named in the Policy as something

that can, in fact, cause damage to property.

     45.     Moreover, the “pollutants or contaminants” exclusion relates only to

the “release, discharge, or dispersal” of pollutants or contaminants caused by any
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covered cause of loss. This exclusion contains an express exception if there is direct

physical loss or damage to covered property from pollutants or contaminants caused

by a covered cause of loss. The Policy expressly states that the pollutant or

contaminant exclusion “shall not apply to direct physical loss or damage to covered

property from pollutants or contaminants caused by a covered cause of loss at the

covered location, including the cost to clean up pollutants or contaminants from

covered property.” Policy § V.1.d. (emphasis added). The exception to the

exclusion makes clear that if, as American Home contends, the virus were, in fact, a

pollutant or contaminant as defined by the Policy, as long as the virus causes direct

physical loss or damage to covered property, as here, there is coverage for the loss

or damage. At the least, the exception creates an ambiguity that must be construed

in favor of the insured.

     46.     Thus, the plain language of the Policy in both the definition of

“pollutants and contaminants” and the exclusion itself expressly states that virus can

cause “direct physical loss or damage” to property. American Home confirmed as

much when, in its denial letter, after reviewing the losses detailed in UST’s claim, it

stated: “In this instance, the cause of loss is COVID-19.” Exhibit 2 at 6. Moreover,

even if the pollutants and contaminants exclusion applies, the exception to it would

provide UST coverage for its losses and damages caused by COVID-19.

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      47.    For all of these reasons, COVID-19 is a covered peril that causes direct

physical loss or damage to property. American Home’s denial of UST’s claim was

wrongful; it finds no support in the Policy.

                  Additional Coverages: Attraction Property,
    Extra Expense, Ingress/Egress, Civil Authority, and Relocation Expenses

      48.    The Policy purchased and paid for by UST also includes additional time

element coverages to insure against the losses of business income and extra expenses

caused by a variety of circumstances, which are applicable here. See Policy § VI.D.

      49.    First, the Policy states American Home “will pay the actual business

income loss sustained by [UST] and extra expense caused by direct physical loss or

damage by a covered cause of loss to property of the type insured under this Policy

that attracts business to a covered location provided that such property is within the

distance from the covered location as shown in item 7.C. of the Declarations under

Attraction Property (hereinafter, the attraction property).” Id. § VI.D.1. There are

a variety of museums, art galleries, restaurants, bars, retail stores, libraries, and other

places near UST that serve as an attraction for students to attend UST. When

selecting which college to attend, many of UST’s students decided, in whole or part,

to attend UST because of the nearby attractions it offered. Because those attraction

properties were impaired by direct physical damage or loss caused by COVID-19,

UST is entitled to attraction property coverage under the Policy.
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     50.     Second, the Policy provides that American Home “will pay loss

sustained by [UST] for extra expense during the period of indemnity resulting from

direct physical loss or damage caused by a covered cause of loss.” Id. § VI.D.6.

These extra expenses include costs to temporarily continue UST’s business as nearly

normal as practicable during the pandemic.

     51.     Third, the Policy provides that American Home “will pay the actual

business income loss sustained by [UST] and extra expense caused by a direct

physical loss or damage by a covered cause of loss to property not insured under this

Policy, provided that: a. [s]uch direct physical loss or damage to such property

partially or totally prevents physical ingress to or egress from a covered location;

and b. [s]uch property not insured under this Policy is within the distance from the

covered location as shown in Item 7.C. of the Declarations under Ingress and

Egress.” Id. § VI.D.7. Because property within one mile of UST suffered direct

physical loss or damage due to COVID-19, thereby limiting, in whole or part, ingress

to and egress from UST’s covered property, UST is entitled to recover its business

income loss and extra expenses associated with such limitations.

     52.     Fourth, the Policy establishes that American Home “will pay the actual

business income loss sustained by [UST] and extra expense if an order of civil or

military authority limits, restricts or prohibits access to property not insured under

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this Policy provided that: a. [s]uch property sustains direct physical loss or damage

by a covered cause of loss; b. [s]uch property is within the distance from the covered

location as shown in Item 7.C. of the Declarations under Interruption by Civil or

Military Authority; and c. [t]he effect of such order is to partially or totally prohibit

access to a covered location.” Id. § VI.D.8. UST is entitled to such coverage because

there are numerous orders promulgated by civil authorities restricting or prohibiting

access to surrounding property, within one mile of UST, and the effect of such orders

prohibited, in whole or part, access to UST’s covered properties.

      53.    Fifth, the Policy states American Home “will pay for reasonable and

necessary relocation expenses incurred by you to relocate students, residents, lawful

occupants or patients to other facilities or properties in the event that their rooms or

rented space at a covered location are uninhabitable due to direct physical loss or

damage by a covered cause of loss.” Id. § III.3 (Endorsement). UST is entitled to

such coverage because many of its covered facilities including dormitories, food

halls, study spaces, offices, and classrooms have become uninhabitable as a result of

the direct physical loss and damage caused by COVID-19. UST has incurred

significant expenses relocating students who had to be quarantined, investigating

alternative housing, classroom, and office options for students, professors, staff, and

guests to promote social distancing, and setting up fixtures and equipment to

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establish and expand virtual instruction.

                              CAUSES OF ACTION

                               COUNT ONE:
                           BREACH OF CONTRACT

      54.    UST incorporates the above-referenced paragraphs as if stated fully

herein.

      55.    The Policy, which includes the terms described above and set forth in

the attached Exhibit 1, constitutes a valid, binding contract between American Home

and UST.

      56.    UST fully performed its contractual obligations by paying all premiums

due under the Policy.

      57.    American Home materially breached the Policy by denying coverage

for business income loss, extra expense, and other losses sustained by UST as a result

of direct physical loss or damage to covered property caused by a covered peril. In

addition, American Home breached the Policy by denying all time element

coverages to UST, including but not limited to business interruption, attraction

property, extra expense, ingress and egress, and interruption by civil or military

authority.

      58.    American Home’s material breach of the Policy has caused and will

continue to cause UST millions of dollars in damages in the form of lost business
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income and extra expense.

                               COUNT TWO:
                          DECLARATORY JUDGMENT

      59.    UST incorporates the above-referenced paragraphs as if stated fully

herein.

      60.    The Declaratory Judgment Act, 28 U.S.C. § 2201(a), provides that in a

“case of actual controversy within its jurisdiction . . . any court of the United States

. . . may declare the rights and other legal relations of any interested party seeking

such declaration, whether or not further relief is or could be sought.” 28 U.S.C. §

2201(a). An actual controversy has arisen between American Home and UST as to

the rights, duties, responsibilities, and obligations of the parties under the Policy.

      61.    Pursuant to 28 U.S.C. §§ 2201 and 2202 and Federal Rule of Civil

Procedure 57, UST seeks the following declarations to determine questions of actual

controversy between the parties, including but not limited to:

      a)     The Policy is a valid and binding contract obligating American
             Home to indemnify UST for covered losses;

      b)     UST has substantially performed or otherwise satisfied all
             conditions precedent to bringing this action and obtaining
             coverage under the Policy, or, alternatively, UST has been
             excused from performance by American Home’s acts,
             representations, conduct, or omissions;

      c)     American Home has failed to indemnify UST for covered losses
             under the Policy;
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      d)     COVID-19 is a covered cause of loss under the Policy;

      e)     UST did and continues to sustain direct physical loss or damage
             to covered property at a covered location that was and is caused
             by COVID-19;

      f)     UST is entitled to recover its actual business income loss
             sustained due to the necessary partial or total interruption of its
             business operations, services, or production during the pandemic
             caused by COVID-19;

      g)     UST is entitled to additional coverage under the Policy pursuant
             to the time element provisions, including but not limited to
             attraction property, extra expense, ingress and egress, and
             interruption by civil or military authority;

      h)     No exclusion to coverage, including the pollution and
             contamination exclusion, applies under the Policy;

      i)     UST is owed the actual business income loss and extra expense
             it has sustained as a result of COVID-19; and

      j)     UST is owed relocation expenses it incurred as a result of COVID-19.


                          COUNT THREE:
               VIOLATIONS OF TEXAS INSURANCE CODE

      62.    UST incorporates the above-referenced paragraphs as if stated fully

herein.

      63.    American Home’s failure and refusal to pay UST’s claim for coverage

constitutes a violation of TEX. INS. CODE §§ 541.001 et seq. and 542.001 et seq. (the

“Code”).
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      64.    Specifically, American Home violated the Code by, among other

things: (i) misrepresenting to UST the policy provisions at issue, (ii) failing to

attempt in good faith to effectuate a prompt, fair, and equitable settlement of UST’s

claim for which its liability was reasonably clear; and (iii) failing to promptly

provide UST a reasonable explanation of the basis in the policy for its denial of

UST’s claim.

      65.    American Home’s actions and inactions were a cause of damages to

UST, including, without limitation, attorneys’ fees incurred by UST.

      66.    On information and belief, American Home’s unlawful acts and

practices were committed knowingly as defined in 541.002 and demonstrate actual

conscious indifference for the rights and welfare of UST. In refusing to timely

indemnify UST for its losses, American Home knew UST would incur and continue

to incur substantial expenses despite having insurance coverage under the Policy.

Accordingly, UST seeks recovery in an amount equal to three times its actual

damages.

      67.    American Home’s failure to promptly pay UST’s claim violates the

Texas Insurance Code. American Home is liable to UST, in addition to the amount

of the claim for interest on the amount of the claim at 18 percent a year as damages,

in addition to prejudgment interest.

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                      COUNT FOUR:
    BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

       68.   UST incorporates the above-referenced paragraphs as if stated fully

herein.

       69.   American Home owed a duty to deal fairly and in good faith with UST

in the processing of its claim.

       70.   American Home knew or should have known that it was reasonably

clear that UST’s claim was covered.

       71.   American Home’s failure and refusal to pay UST’s claim for coverage

in light of its actual or constructive knowledge that it had no reasonable basis to deny

the claim constitutes a breach of the duty of good faith and fair dealing.

       72.   American Home’s actions and inactions were a cause of damages to

UST.

                           CONDITIONS PRECEDENT

       73.   All conditions precedent to recovery for all relief requested have been

satisfied or waived.

                                  ATTORNEYS’ FEES

       74.   UST is entitled to recovery its attorneys’ fees and court costs pursuant

to Texas Civil Practice and Remedies Code §§ 38.001 (1), (2) and (8); and Texas

Insurance Code §§ 541.152 and 542.060.
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                            DEMAND FOR JURY

     75.   UST demands a trial by jury.

                           PRAYER FOR RELIEF

WHEREFORE, UST prays for and demands:

     1.    Judgment against American Home for all losses covered by the Policy;

     2.    Declaratory relief as set out above;

     3.    An award of up to treble damages for violations of the Texas Insurance

           Code;

     4.    An award of prejudgment interest;

     5.    An award of interest as damages on the amount of the claim in the

           amount of 18% per year;

     6.    All costs and attorneys’ fees and expenses incurred prosecuting these

           claims; and

     7.    Such other and further relief as the Court deems just and equitable.




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Dated August 12, 2020.             Respectfully submitted,

                                   /s/ Murray Fogler
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